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Iu the United States District Court
for the Southern District of Georgia
Waprross Division

TWIN PINES MINERALS, LLC,
Plaintiff,
Vv. CV 522-036

U.S. ARMY CORPS OF ENGINEERS,
et al.,

 

Defendants.
ORDER

Before the Court is Plaintiff Twin Pines Minerals, LLC’s

Notice of Voluntary Dismissal, dkt. no. 28, wherein it notifies

the Court that it has reached a settlement with Defendants and

wishes to dismiss all claims asserted in this action. The

Notice complies with Federal Rule of Civil Procedure

41(a) (1) (A) (i) (dismissal before an opposing party serves an
answer or motion for summary judgment). However, Plaintiff does
not specify whether it wishes to dismiss this action with or
without prejudice. See Dkt. No. 28. According to Rule
41 (a) (1) (B), “{ujnless the notice or stipulation states
otherwise, the dismissal is without prejudice.” Accordingly,
all claims asserted in this action are DISMISSED without

prejudice. Fach party shall bear its own fees and costs. The
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status conference scheduled for October 3, 2022 is cancelled,

and the Clerk is DIRECTED to close this case.

SO ORDERED, this Lp aay of September, 2022

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HON. IASA GODBEY WOOD, JUDGE
U D STATES DISTRICT COURT
SOUTHERN DISTRICT OF GEORGIA
